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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SOCIAL POSITIONING INPUT
SYSTEMS, LLC

                              Plaintiff,
                                                      C.A. No. 21-636-GBW
                       V.

GPX INTELLIGENCE, LLC,
d/b/a LOGISTIMATICS

                             Defendant.


                   ORDER DISMISSING CASE WITHOUT PREJUDICE

       WHEREAS, on June 1, 2023 , the Court issued an Order (D.I. 8) directing Plaintiff to, on

or before June 15, 2023, either (1) file a return of service (or waiver of service) indicating that

service of the summons and complaint in this action had been made within the 90 days

prescribed by Rule 4(m), or (2) show good cause for failure to serve the summons and complaint

and why the Court should extend the deadline for service (see D.I. 8 at 2); and

       WHEREAS, Plaintiff failed to comply with the Court' s Order.

       THEREFORE, IT IS HEREBY ORDERED this 17th day of July 2023 that, pursuant to

Rule 4(m) of the Federal Rules of Civil Procedure, this action is DISMISSED WITHOUT

PREJUDICE for Plaintiffs failure to serve the summons and complaint within 90 days after the

complaint was filed and for failure to show case for said failure.

CLOSE this case.


                                                              The Honorable Gregory B. Williams
                                                                     United States District Judge




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